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                         UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                             219 SOUTH DEARBORN STREET
                                CHICAGO, ILLINOIS 60604


    NOTIFICATION OF CHANGE OF ATTORNEY ADDRESS OR NAME

1. Complete this form and e-file it, using the Notice of Change of Address event, in each
   case that you list below.
2. Update your contact information in CM/ECF. Click HERE for update instructions.


Name Sharon K. Jackson

Firm     Sharon K. Jackson, Attorney

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ARDC (Illinois State Bar members, only)

If you have previously filed an appearance with this court using a different name, enter that name.


List all active cases in which you currently have an appearance on file.

Case Number                      Case Title                        Assigned Judge
1:20-cv-00421                    Doorage vs. Blue Crates           Hon. Feinerman
1:20-cv-06106                    Crum & Forester vs. Blue Crates,Hon.
                                                                  et al.Kennally




 /s/ Sharon K. Jackson                                       02/11/2021
_______________________________                              _______________________
Signature of Attorney                                        Date


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